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14
                                IN THE DISTRICT COURT
                          FOR THE NORTHERN MARIANA ISLANDS
15
     KATRINA DEL GALLEGO DEMAPAN,             )      Civil Action No. 1:18-cv-00010
16   MA. GINA TIOZON, MARY JANE G.            )
     MUHI and EMELINDA E. SANCHEZ,            )
17
                                              )
18                                Plaintiffs, )          STIPULATED MOTION FOR
                                              )      APPROVAL OF FLSA SETTLEMENT
19   vs.                                      )         AND AMENDED STIPULATED
                                              )       REQUEST TO FILE SETTLEMENT
20   ZENG’S AMERICAN CORP., a CNMI            )        AGREEMENT UNDER SEAL OR
     corporation doing business inter alia as )       FOR IN CAMERA REVIEW ONLY
21   HAPPY POKER, DONG FANG TRADING )
     CORP., a CNMI corporation doing business )
22   inter alia as Happy Poker II, JIN DONG   )          (NO HEARING REQUESTED)
     ZENG, and XIU FANG HUANG,                )
23
                                              )
24                                Defendants. )
                                              )
25

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28
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 1                 COME NOW all the parties in this case by and through their respective counsel with this

 2   Stipulated Motion to approve, without admission of liability, the terms of the parties’ settlement
 3   of Plaintiffs’ claims against all of the Defendants in the above-captioned matter all of which
 4
     settled claims were brought pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§
 5
     2901 et seq. In order to maintain the confidentiality of the settlement, the parties are submitting
 6
     herewith an Amended Stipulation (see ECF#43) requesting that the Court receive the parties’
 7
     fully executed Settlement Agreement and two Supplemental Declarations supporting this Motion
 8
     for Approval under seal or for in camera review only. A copy of the Settlement Agreement and
 9
     Supplemental Declarations have been lodged with the Court concurrent with the filing of this
10

11   Stipulated Motion and Amended Stipulated Request.

12                 Finally, the parties also request that if the Court is inclined to hold a hearing on approval

13   of the Settlement Agreement, such hearing also be sealed or held in camera.

14   COURT APPROVAL OF FLSA SETTLEMENT NECESSARY.

15                 The settlement of claims under the FLSA was fairly recently at issue in a decision issued
16   by the District Court for the Eastern District of California which is instructive. See Kerzich v.
17
     County of Toulumne, 355 F. Supp. 3d 1179 (E.D. Cal. 2018).1
18
                   The Kerzich court articulated the role of the Court in reviewing and approving FLSA
19
     settlements as follows:
20
                                  The FLSA establishes federal minimum-wage, maximum-hour, and
21
                   overtime guarantees that cannot be modified by contract. Because an employee
22                 cannot waive claims under the FLSA, they may not be settled without supervision
23                                                               

24   1
       It appears that the only published decisions of this Court addressing FLSA settlement review and
     approval occurred in the “Garment Litigation” where the Court reviewed the terms of the global
25
     settlement, including the FLSA claims involved therein, under a separately proscribed, but similar Rule
26   23 class action fairness review. See Does I v. The Gap, Inc., 2003 WL 22997250 (Sept. 11, 2003 DNMI);
     Does I v. The Gap, Inc., 2002 WL 1000073 at *9 (May 10, 2002 DNMI).
27                                                                  2
                                                                      
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 1          of either the Secretary of Labor or a district court. Since neither party has

 2          represented that the Secretary of Labor has approved this settlement, it falls to the
            court to evaluate whether this settlement should be approved under the FLSA.
 3
     Id. at 1183-84 (internal quotation marks and citations omitted).
 4
     STANDARDS FOR APPROVING FLSA SETTLEMENT.
 5
            As the Kerzich court noted, “[while t]he Ninth Circuit has not established criteria for
 6
     district courts to consider in determining whether an FLSA settlement should be approved[,]
 7

 8   district courts in this circuit have frequently applied a widely-used standard adopted by the

 9   Eleventh Circuit, which looks to whether the settlement is a fair and reasonable resolution of a

10   bona fide dispute.” Id. at 1184.

11          With regard to whether a bona fide dispute exists, courts look to whether “there are
12   legitimate questions about the existence and extent of Defendant’s FLSA liability.” Id. (quoting
13
     Selk v. Pioneers Memorial Healthcare Dist., 159 F. Supp. 3d 1164, 1172 (S.D. Cal. 2016)).
14
            In evaluating the fairness, reasonableness and adequacy of an FLSA settlement, “courts
15
     often apply the Rule 23 factors for assessing proposed class action settlements . . . while
16
     recognizing that some of those factors do not apply because of the inherent differences between
17
     class actions and FLSA actions.” Kerzich, 355 F. Supp. 3d at 1184 (citing Khanna v. Inter-Con
18
     Sec. Sys., Inc., 2013 WL 1193485 at *2 (E.D. Cal. Mar. 22, 2013) (Rule 23 factors such as: “the
19
     strength of the plaintiffs' case; the risk, expense, complexity, and likely duration of further
20

21   litigation; the risk of maintaining class action status throughout the trial; the amount offered in

22   settlement; the extent of discovery completed and the stage of the proceedings; the experience

23   and views of counsel; the presence of a governmental participant; and the reaction of the class

24   members to the proposed settlement”).
25

26

27                                                   3
                                                       
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 1   GLOBAL SETTLEMENT ENCOMPASSING BOTH FLSA CLAIMS AND NON-FLSA
     CLAIMS OR IMPOSING OBLIGATIONS ON EMPLOYEES MAY BE APPROVED IF
 2   ADDITIONAL CONSIDERATION IS GIVEN.
 3          The Settlement Agreement in this case is broader than a purely FLSA release. It contains
 4   a release in favor of Defendants encompassing all claims arising out of or relating to Plaintiffs’
 5
     employment with Happy Poker I/Happy Poker II (the “Happy Poker Business”), not limited to
 6
     FLSA claims. In addition, the Settlement Agreement contains certain obligations on Plaintiffs,
 7
     such as confidentiality and non-disparagement clauses,
 8
            Courts have approved this kind of global settlement when additional consideration is
 9
     given to the employees. See, e.g., Buntin v. Square Foot Management, Co. LLC., Case No. 6:14–
10
     cv–1394–Orl–37GJK, 2015 WL 3407866 *2-3 (M.D. Fla. May 27, 2015) (approving FLSA
11

12   settlement where the settlement represented a compromise and consideration in the form of a

13   neutral reference was promised by Defendant to Plaintiff in exchange for a broad general

14   release); Weldon v. Blackwoods Steakhouse, Inc., No. 6:14–cv–79–Orl–37TBS, 2014 WL

15   4385593, at *1 (M.D. Fla. Sept. 4, 2014) (approving settlement containing general release and

16   non-disparagement agreement where the plaintiff received full compensation of FLSA claim and
17
     $100.00 in additional consideration for same); Smith v. Aramark Corp., No. 6:14–cv–409–Orl–
18
     22KRS, 2014 WL 5690488, at *4 (M.D. Fla. Nov. 4, 2014) (approving FLSA settlement
19
     agreement where plaintiff received full compensation and additional consideration for general
20
     release, confidentiality, and non-disparagement agreement).
21
     THE SETTLEMENT AGREEMENT SHOULD BE APPROVED
22
            The Settlement Agreement contains releases of claims under the FLSA and has other
23
     provisions which are procedural in nature and would require the Court’s continuing jurisdiction
24

25   over the matter in addition to approval of the forms of dismissal of the case. Accordingly, the

26

27                                                   4
                                                       
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 1   Court’s review and approval is required in order to give efficacy to the terms thereof and to

 2   approve the form of the Court’s continuing jurisdiction over the Settlement Agreement.
 3          As shown by the parties’ previous filings in this case, there is a bona fide dispute over
 4
     FLSA coverage. Plaintiffs take the position that there is both individual coverage and enterprise
 5
     coverage. Defendants take the position that Plaintiffs worked as cashiers of a local poker parlor
 6
     business and therefore were not individually covered, and that there is no enterprise coverage
 7
     because the $500,000.00 gross-receipt threshold amount under FLSA should be measured
 8
     against a poker parlor business’s gross receipts under tax laws as opposed to its machines’
 9
     cumulative play (or “coin-in”), see Tenorio v. Trust Territory, 7 T.T.R. 592 (1978) (holding that
10

11   coins put into poker machines were not “received” by the poker parlor), and because none of

12   Defendants operated other business “related” to the Happy Poker Business that could be counted

13   towards the $500,000.00 threshold amount under FLSA.

14          As shown by the Settlement Agreement and Supplemental Declarations lodged

15   contemporaneously with the Court, the terms of the Settlement Agreement are fair and
16   reasonable, and additional consideration is given for global settlement, such as a reciprocal
17
     release from Defendants in favor of Plaintiffs and reciprocal obligations on Defendants not to
18
     disparage Plaintiffs.
19
            Therefore, the Settlement Agreement should be approved.
20

21
     CONFIDENTIALITY AND IN CAMERA REVIEW:
22
            Additionally, the parties have agreed to confidentiality of the terms of the Settlement
23

24   Agreement which necessitates the present request that the Court maintain that confidentiality in

25   its review and approval of those settlement terms. In requesting that the Court receive and review

26   the parties’ Settlement Agreement either under seal or in camera, the parties acknowledge that

27                                                   5
                                                       
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 1   sealing of FLSA settlements in other courts of this circuit has required a showing of either “good

 2   cause” or “compelling reasons” with a presumption of public access. See, e.g., Luo v. Zynga,
 3   Inc., 2013 WL 5814763 (N.D. Cal. Oct 29, 2013) (FLSA class-action settlement ordered either
 4
     unsealed or rejected during approval proceedings because the parties failed to articulate a proper
 5
     basis that would justify sealing the settlement agreement). Other courts are willing to review
 6
     private FLSA settlements in camera in order to determine fairness, reasonableness and adequacy
 7
     while respecting the confidentiality agreed between the parties. See, e.g., Goudie, v. Cable
 8
     Communications, Inc., 2009 WL 88336 (D. Or. Jan. 12, 2009).
 9
            Here, Defendants believe that they can make this showing and have presented their
10

11   reasons in the Supplemental Declaration executed by Mr. Zeng and Ms. Huang. Because

12   articulation of Defendants’ reasons necessarily involves explicit references to the terms of the

13   Settlement Agreement the parties’ request herein is that it also be received under seal or

14   reviewed in camera.

15          This request herein for the Court is not to seal, permanently, the Settlement Agreement
16   and Supplemental Declarations. The Settlement Agreement itself contemplate scenarios where
17
     further court proceedings to enforce the settlement terms would be undertaken in a public
18
     manner.
19
            The parties also understand that if the Court can grant the request to seal the Settlement
20
     Agreement and Supplemental Declarations and proceed to determine whether to approve the
21
     settlement on its terms including whether the Settlement Agreement should remain confidential
22
     and sealed after the Court’s full consideration of the confidentiality clause thereof. In Luo v.
23

24   Zynga, Inc., 2013 WL 5814763 (N.D. Cal. Oct 29, 2013), for example, the district court allowed

25   the parties to file their settlement agreement under seal, and then, after it held a hearing and

26   decided that sealing was not justified, gave the parties the option to withdraw the motion for

27                                                   6
                                                       
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 1   approval of settlement or to move forward with the settlement and unseal the settlement

 2   agreement.
 3   CONCLUSION
 4
            For the foregoing reasons, the Court should approve the settlement between the parties on
 5
     the terms contained in the Settlement Agreement lodged with the Court concurrently herewith
 6
     and accept filing of the Settlement Agreement and Supplemental Declarations under seal.
 7
            Respectfully submitted this 13th day of February, 2019.
 8

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10

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18

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